                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

LEA S. FRYE                               §
                                          §
       Plaintiff,                         §              CASE NO. 4:17-mc-1926
                                          §
vs.                                       §
                                          §              (FILED UNDER SEAL)
ANADARKO PETROLEUM CORP.,                 §
                                          §
       Defendant.                         §          JURY TRIAL DEMANDED

            ORDER GRANTING PLAINTIFF’S MOTION TO SEAL

      On this day, the Court considered Plaintiff’s Motion to Seal Original

Complaint. The Court, having reviewed the motion, is of the opinion that Plaintiff’s

Motion is supported by good cause.


      IT IS THEREFORE ORDERED, Plaintiff’s Motion to Seal Original Complaint

is GRANTED.




SIGNED this ____ day of __________________, 2017.




                                        ______________________________________
                                                   JUDGE PRESIDING




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